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                            UNITED STATES BANKRUPTCY COURT
                                  District of Colorado
 In re:
 SKIN PC,                                      )      Case No. 19-11650 MER
 Debtor.                                       )      Chapter 11
                                               )
 In re:                                        )
 KEVIN JOHN MOTT,                              )      Case No. 19-11647 MER
                                               )      Chapter 11
 Debtor.                                       )
                                               )
 In re:                                        )
 LAKE LOVELAND DERMATOLOGY, P.C.               )      Case No. 19-11659 MER
 a Colorado professional corporation           )      Chapter 11
 EIN XX-XXXXXXX                                )
    Debtor.                                    )      Jointly administered
                                               )      Under Case No. 19-11650
                                               )      MER


                 NOTICE OF APPEAL AND STATEMENT OF ELECTION



 Part 1: Identify the appellant(s)

    1. Name(s) of appellant(s): Lake Loveland Dermatology, P.C.

    2. Position of appellant(s) in the adversary proceeding or bankruptcy case that is
       the subject of this appeal:
       For appeals in an adversary            For appeals in a bankruptcy case and
       proceeding.                            not in an adversary proceeding.
        Plaintiff                              X Debtor
        Defendant                                Creditor
         Other (describe)
                                                 Trustee
                                                 Other (describe)

       Part 2: Identify the subject of this appeal
            1. Describe the judgment, order, or decree appealed from: Order granting
            Motion for Immediate Possession of the Property at 776 W. Eisenhower Blvd.,
            Loveland, Colorado and for Relief from the Automatic Stay [Dkt. 176].
            2. State the date on which the judgment, order, or decree was entered:
            November 13, 2019.

       Part 3: Identify the other parties to the appeal

       List the names of all parties to the judgment, order, or decree appealed from
       and the names, addresses, and telephone numbers of their attorneys (attach
       additional pages if necessary):
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           1. Party: Debtor, Lake Loveland Dermatology, P.C.
              Attorney: Jordan Factor
                        Michael Gilbert
                        Jeremy Jonsen
                        1600 Stout Street, Suite 1100
                        Denver, CO 80202
                        (303) 534-4499
                        jfactor@allen-vellone.com
                        mgilbert@allen-vellone.com
                        jjonsen@allen-vellone.com

           2. Party: Office of the United States Trustee
              Attorney: Samuel Boughner
                        1961 Stout Street, Suite 12-200
                        Denver, CO 80294
                        (303) 312-7252
                        Samuel.boughner@usdoj.gov

           3. Party: 790 Eisenhower, LLC
              Attorney: Matthew Faga
                       Jennifer Salisbury
                       1700 Lincoln Street, Suite 4500
                       Denver, CO 80203
                       (303) 318-0120
                       mfaga@markuswilliams.com
                       jsalisbury@markuswilliams.com


Part 4: Optional election to have appeal heard by District Court (applicable only in
certain districts)

 If a Bankruptcy Appellate Panel is available in this judicial district, the Bankruptcy
 Appellate Panel will hear this appeal unless, pursuant to 28 U.S.C. § 158(c)(1), a party
 elects to have the appeal heard by the United States District Court. If an appellant filing
 this notice wishes to have the appeal heard by the United States District Court, check
 below. Do not check the box if the appellant wishes the Bankruptcy Appellate Panel to
 hear the appeal.

        X Appellant(s) elect to have the appeal heard by the United States District
          Court rather than by the Bankruptcy Appellate Panel.
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 Part 5: Sign below


 Signature of attorney for appellant(s) (or appellant(s)
 if not represented by an attorney)

 Dated this 14th day of November, 2019.

                                          Allen Vellone Wolf Helfrich & Factor P.C.

                                          /s/Jordan Factor
                                          Jordan Factor, Esq.
                                          Michael Gilbert, Esq.
                                          Jeremy T. Jonsen, Esq.
                                          1600 Stout Street, Suite 1100
                                          Denver, Colorado 80202
                                          Phone Number: (303) 534-4499
                                          jfactor@allen-vellone.com
                                          mgilbert@allen-vellone.com
                                          jjonsen@allen-vellone.com
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                               CERTIFICATE OF SERVICE

        The undersigned certifies that on November 8, 2019, I served by prepaid first-class
mail a copy of the NOTICE OF APPEAL AND STATEMENT OF ELECTION on all parties
against whom relief is sought and those otherwise entitled to service pursuant to the Fed.
R. Bankr. P. and the L.B.R. at the following addresses:

   Jeffrey Weinman                        Kutner Brinen, P.C.
   730 17th St., Ste. 240                 Lee M. Kutner
   Denver, CO 80202                       1660 Lincoln Street, Suite 1850
   jweinman@outlook.com                   Denver, CO 80264
                                          lmk@kutnerlaw.com
   Office of The United States Trustee    Goff & Goff LLC
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   Markus Williams Young and              Frank W. Visciano
   Hunsicker LLC                          Senn Visciano Canges, P.C.
   Matthew Faga                           1700 Lincoln St., Ste. 4300
   1700 Lincoln Street, Suite 4550        Denver, CO 80203
   Denver, CO 80203                       fvisciano@sennlaw.com
   mfaga@markuswilliams.com




                                         /s/ Lisa A. Vos
                                         Allen Vellone Wolf Helfrich & Factor P.C.
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